           Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 1 of 15



   Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
   WEISSLAW LLP
 2 611 Wilshire Blvd., Suite 808
   Los Angeles, CA 90017
 3 Telephone: 310/208-2800
   Facsimile: 310/209-2348
 4
   Attorneys for Plaintiff
 5

 6

 7

 8                                       UNITED STATES DISTRICT COURT
 9
                                   NORTHERN DISTRICT OF CALIFORNIA
10

11    CHRISTOPHER JONES,                                )   Case No.
                                                        )
12                          Plaintiff,                  )
                                                        )
13                                                      )   COMPLAINT FOR
                      vs.                               )   VIOLATIONS OF THE
14                                                      )   FEDERAL SECURITIES LAWS
      DSP GROUP, INC., SHIRA FAYANS                     )
15    BIRENBAUM, OFER ELYAKIM, THOMAS                   )   JURY TRIAL DEMANDED
      A. LACEY, CYNTHIA L. PAUL, YAIR                   )
16    SEROUSSI, NORMAN P. TAFFE, and                    )
                                                        )
      KENNETH H. TRAUB,                                 )
17
                                                        )
18                            Defendants.               )
                                                        )
19                                                      )
                                                        )
20

21

22          Plaintiff Christopher Jones (“Plaintiff”), on behalf of himself and all others similarly situated,
23 upon information and belief, including an examination and inquiry conducted by and through his

24
     counsel, except as to those allegations pertaining to Plaintiff, which are alleged upon personal belief,
25
     alleges the following for his Complaint:
26

27

28
                                         -1-
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
           Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 2 of 15




                                       NATURE OF THE ACTION
 1

 2          1.      This is an action brought by Plaintiff against DSP Group, Inc. (“DSP” or the

 3 “Company”) and the members of DSP’s Board of Directors (the “Board” or the “Individual

 4 Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934

 5
     (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission
 6
     (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant
 7
     to which DSP will be acquired by Synaptics Incorporated (“Synaptics”) through Synaptics’s
 8
     subsidiary Osprey Merger Sub, Inc. (“Merger Sub”) (the “Proposed Transaction”).
 9

10          2.      On August 30, 2021, DSP and Synaptics issued a joint press release announcing that

11   they had entered into an Agreement and Plan of Merger dated August 30, 2021 (the “Merger
12   Agreement”) to sell DSP to Synaptics. Under the terms of the Merger Agreement, each DSP
13
     stockholder will receive $22.00 in cash for each share of DSP common stock they own (the “Merger
14
     Consideration”). The Proposed Transaction is valued at approximately $532 million.
15
            3.      On October 25, 2021, DSP filed a Schedule 14A Definitive Proxy Statement (the
16

17 “Proxy Statement”) with the SEC. The Proxy Statement, which recommends that DSP stockholders

18 vote in favor of the Proposed Transaction, omits or misrepresents material information concerning,

19 among other things, the Company’s financial projections and the data and inputs underlying the

20 financial valuation analyses that support the fairness opinion provided by the Company’s financial

21
     advisor Goldman Sachs & Co. LLC (“Goldman Sachs”). Defendants authorized the issuance of the
22
     false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange Act.
23
            4.      In short, unless remedied, DSP’s public stockholders will be irreparably harmed
24

25 because the Proxy Statement’s material misrepresentations and omissions prevent them from making

26 a sufficiently informed voting or appraisal decision on the Proposed Transaction. Plaintiff seeks to

27

28
                                           -2-
                 COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
           Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 3 of 15




     enjoin the stockholder vote on the Proposed Transaction unless and until such Exchange Act
 1

 2 violations are cured.

 3                                     JURISDICTION AND VENUE

 4          5.      This Court has jurisdiction over the claims asserted herein for violations of Sections
 5
     14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder pursuant to Section 27
 6
     of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331 (federal question jurisdiction).
 7
            6.      The Court has jurisdiction over defendants because each defendant is either a
 8
     corporation that conducts business in and maintains operations in this District, or is an individual who
 9

10 has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by this

11 Court permissible under traditional notions of fair play and substantial justice.

12          7.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §
13
     78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company is headquartered in this District;
14
     (ii) one or more of the defendants either resides in or maintains executive offices in this District; and
15
     (iii) defendants have received substantial compensation in this District by doing business here and
16

17 engaging in numerous activities that had an effect in this District.

18                                              THE PARTIES

19          8.      Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of DSP.
20          9.      Defendant DSP is a Delaware corporation, with its principal executive offices located
21
     at 2055 Gateway Place, Suite 480, San Jose, California 95110. The Company is a global leader in
22
     wireless chipsets for a wide range of smart-enabled devices. DSP’s common stock trades on the
23
     Nasdaq Global Select Market under the ticker symbol “DSPG.”
24

25          10.     Defendant Shira Fayans Birenbaum (“Birenbaum”) has been a director of the

26 Company since April 2021.

27

28
                                           -3-
                 COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
             Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 4 of 15




              11.   Defendant Ofer Elyakim (“Elyakim”) has been Chief Executive Officer (“CEO”) of
 1

 2 the Company since July 2009, and a director since May 2011.

 3            12.   Defendant Thomas A. Lacey (“Lacey”) has been a director of the Company since May

 4 2012.

 5
              13.   Defendant Cynthia L. Paul (“Paul”) has been a director of the Company since April
 6
     2018.
 7
              14.   Defendant Yair Seroussi (“Seroussi”) has been a director of the Company since
 8
     February 2002.
 9

10            15.   Defendant Norman P. Taffe (“Taffe”) has been a director of the Company since May

11 2013.

12            16.   Defendant Kenneth H. Traub (“Traub”) has been non-executive Chairman since May
13
     2017, and a director of the Company since May 2012.
14
              17.   Defendants identified in paragraphs 10-16 are referred to herein as the “Board” or the
15
     “Individual Defendants.”
16

17                                    OTHER RELEVANT ENTITIES

18            18.   Synaptics is a leading worldwide developer and supplier of custom-designed

19 semiconductor solutions. Its current served markets include Internet of Things (“IoT”) personal

20 computer, and Mobile. Synaptics delivers complete chip, firmware and software semiconductor

21
     solutions that include connectivity products, audio input and output System-On-Chips (“SoCs”),
22
     high-definition video and vision SoCs, SoCs with artificial intelligence capabilities, touch controllers,
23
     touchpads, display drivers and fingerprint biometric sensors.        Synaptics is a market leader in
24

25 providing premium mixed signal semiconductor solutions to its target markets. Its original equipment

26 manufacturer (“OEM”) customers include many of the world’s largest OEMs for smart home devices,

27 automotive solutions, notebook computers and peripherals, smartphones and tablets, and many large

28
                                          -4-
                COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 5 of 15




     OEMs for audio and video products. Synaptics generally supplies its product solutions to OEM
 1

 2 customers through their contract manufacturers, which take delivery of products and pay directly for

 3 such products.

 4          19.     Merger Sub is a Delaware corporation and a wholly-owned subsidiary of Synaptics.
 5
                                  SUBSTANTIVE ALLEGATIONS
 6

 7 Background of the Company

 8          20.     DSP is a leading global provider of wireless chipset solutions for converged

 9 communications, delivering system solutions that combine semiconductors and software with

10 reference designs. The Company provides a broad portfolio of wireless chipsets integrating VoIP,

11
     Wi-Fi, PSTN and DECT technologies with state-of-the-art application processors and related
12
     software. DSP also enables converged voice, audio and data connectivity across diverse consumer
13
     products – from Unified Communications and cordless phones to home gateways, wearables and
14

15 connected multimedia screens. DSP’s Home segment consists of SmartHome products, which are

16 comprised of the Company’s home gateway, and home automation and cordless telephone products.

17 The Company’s Unified Communications segment consists of a comprehensive set of solutions for

18
     Unified Communications office products. The Company’s SmartVoice segment consists of products
19
     targeted at mobile, IoT and wearable device markets that incorporate DSP’s noise suppression and
20
     voice quality enhancement HDClear technology, as well as other third-party advanced voice
21
     processing, always on and sensor hub functionalities.
22

23          21.     In July 2020, DSP completed the acquisition of SoundChip SA (“SoundChip”), a

24 privately held Swiss company. SoundChip is a leading supplier of active noise cancellation (“ANC”)

25 technology, engineering services, design tools and production-line test systems for headsets. The

26
     acquisition combines SoundChip’s proven capabilities in hybrid ANC with DSP’s SmartVoice
27
     advanced low-power voice processing platform, algorithms, and mixed-signal expertise to streamline
28
                                         -5-
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
           Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 6 of 15




     the delivery of cutting-edge wireless and true wireless stereo headsets, from concept through to
 1

 2 manufacturing.

 3          22.     On August 2, 2021, DSP announced its second quarter 2021 financial results. The

 4 Company achieved record Internet of Audio Things (“IoAT”) Revenues of $24.8 million, up 35%

 5
     year over year. Non-GAAP net income and diluted earnings per share for the second quarter of 2021
 6
     were $3.2 million and $0.12, respectively, as compared to non-GAAP net income and diluted earnings
 7
     per share of $1.6 million and $0.06, respectively, for the second quarter of 2020. Non-GAAP gross
 8
     margin of 54.1% for the quarter was a Company record. GAAP operating loss was $0.4 million and
 9

10 non-GAAP operating income was $3.3 million, compared to GAAP operating loss of $1.4 million

11 and non-GAAP operating income of $1.0 million for the second quarter of 2020. Reflecting on the

12 results and looking to the future, defendant Elyakim stated:

13
            We are very pleased with our outstanding results. We successfully navigated tight
14          supply chain challenges, posted a record quarter on virtually all fronts, and surpassed
            our guidance on most financial metrics. Revenues of $35.8 million were at the high-
15          end of our guidance range, up 26% year-over-year and 10% sequentially. Revenue
            growth was driven by strong demand for voice-centric products, predominantly in our
16          IoAT businesses, which reached record revenues of $25 million, up 35% year over
17          year and 19% sequentially and comprising 69% of total revenues. The favorable mix
            of products and the solid revenue growth propelled record high non-GAAP gross
18          margins of 54.1%.

19          Looking ahead to the third quarter, we expect the solid momentum in our business to
            continue, translating into revenue growth both sequentially and year over year. These
20          are exciting times for DSP Group as markets shift favorably in our direction, driving
21          record demand for our core expertise. These promising trends are propelled by new
            models of living, working and interacting, all of which increasingly rely on voice-
22          centric products delivered by our IoAT businesses. The breadth and depth of our
            technology offering, including a comprehensive portfolio of software and silicon,
23          uniquely positions DSP Group to capitalize on these large growth opportunities. We
            are experiencing record design activity, which positions us well for continued revenue
24          growth ahead.
25
     The Proposed Transaction
26
            23.     On August 30, 2021, DSP and Synaptics issued a joint press release announcing the
27
     Proposed Transaction. The press release states, in relevant part:
28
                                         -6-
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
     Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 7 of 15




      SAN JOSE, Calif., Aug. 30, 2021 -- Synaptics Incorporated (Nasdaq: SYNA) and DSP
 1    Group, Inc. (Nasdaq: DSPG) today announced the signing of a definitive agreement,
 2    unanimously approved by the boards of directors of both companies, whereby
      Synaptics acquires DSP Group, a leading global provider of voice and wireless chipset
 3    solutions for converged communications, at $22.00 per share in an all-cash transaction.
      The combination is anticipated to generate annual run rate synergies of $30 million for
 4    the new entity to be realized within 12 months of closing and is immediately accretive
      to Synaptics’ non-GAAP earnings. The transaction is expected to be financed through
 5
      a combination of cash on hand and a fully committed, incremental debt financing
 6    arrangement with a projected close by the end of calendar year 2021, subject to DSP
      Group shareholder approval and customary closing conditions.
 7
      DSP Group has leadership positions across multiple markets in the Internet of Audio
 8    Things (IoAT) with significant growth opportunities in low power SmartVoice,
      unified communications & collaboration, and wireless IoT devices. Most of these
 9
      solutions are quite relevant to Synaptics’ existing customer base, furthering the
10    strategy of cross-selling portfolio devices.

11    Synaptics recently announced its Low Power Edge AI initiative, which opens a
      significant long-term opportunity with ABI research predicting approximately 2.5
12    billion TinyML units to be sold by 2030. The addition of DSP Group’s best-in-class
13    SmartVoice products to Synaptics’ Katana smart vision platform creates a complete
      portfolio that can both serve existing customer needs and address the significant future
14    market. In addition, the combination further strengthens Synaptics’ industry-leading
      wireless connectivity portfolio by adding DECT Ultra Low Energy (ULE), which
15    enables a fully-featured intelligent home security solution.
16    “We continue to invest in technologies that tilt our product mix toward IoT
17    applications,” said Michael Hurlston, President and CEO of Synaptics. “DSP Group's
      expertise in SmartVoice and ULE wireless solutions, coupled with Synaptics’
18    leadership position in far-field speech recognition and IoT directed Wi-Fi/BT combos
      enables us to deliver increasingly differentiated solutions to our combined customer
19    base, while positioning us to lead the transition to AI enabled devices at the edge of
      the network.”
20

21    “We are excited to join forces with Synaptics, a recognized leader in products for IoT.
      This combination provides a great result for our shareholders who have supported us
22    through this journey, delivering meaningful and certain value,” said Ofer Elyakim,
      CEO of DSP Group. “Our complementary portfolios together with the combination
23    of our world-class engineering teams creates an exciting opportunity for DSP Group’s
      core technology to extend further into our existing customers' product portfolio.”
24

25    “The DSP Group board of directors unanimously supports this transaction as it
      represents an excellent outcome for our shareholders,” commented Ken Traub,
26    Chairman of the Board of Directors, DSP Group. “We would like to thank DSP
      Group’s management and employees for their dedication to executing our strategy and
27    congratulate them on this exciting achievement.”
28
                                   -7-
         COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
           Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 8 of 15




            Advisors
 1

 2          Goodwin Procter LLP is serving as legal counsel and Barclays is providing committed
            financing to Synaptics. Goldman Sachs & Co. LLC is serving as financial advisor and
 3          Morrison & Foerster LLP is serving as legal counsel to DSP Group.

 4 Insiders’ Interests in the Proposed Transaction

 5
            24.     DSP insiders are the primary beneficiaries of the Proposed Transaction, not the
 6
     Company’s public stockholders. The Board and the Company’s executive officers are conflicted
 7
     because they will have secured unique benefits for themselves from the Proposed Transaction not
 8
     available to Plaintiff and the public stockholders of DSP.
 9

10          25.     Notably, Company insiders stand to reap substantial financial benefits for securing the

11 deal with Synaptics. Pursuant to the Merger Agreement, all outstanding Company restricted stock

12 units (“RSUs”) held by non-employee directors will vest and convert into the right to receive the

13
     Merger Consideration. The following table summarizes the value of RSUs that DSP’s insiders non-
14
     employee directors stand to receive:
15

16

17

18

19

20

21

22
            26.     Moreover, defendant Elyakim’s outstanding Company performance stock units
23

24 (“PSUs”) will vest and convert into the right to receive the Merger Consideration upon closing of the

25 merger. The following table summarizes the value of PSUs that defendant Elyakim stands to receive:

26

27

28
                                         -8-
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 9 of 15




            27.       Further, each of DSP’s named executive officers has a written employment agreement
 1

 2 with the Company which provides for certain notice payments upon a qualifying termination, as set

 3 forth in the following table:

 4

 5

 6

 7
            28.       In addition, if they are terminated in connection with the Proposed Transaction, DSP’s
 8
     named executive officers stand to receive substantial cash severance payments in the form of golden
 9

10 parachute compensation, as set forth in the following table:

11                           Cash            Equity ($)
                                                                Prerequisites
          Name                                                  /Benefits ($)             Total ($)
                             ($)(1)         (2)(3)(4)(5)
12                                                                   (6)
       Ofer Elyakim        $1,347,500        $4,867,500           $303,000                $6,518,000
13      Dror Levy           $667,130         $1,630,728           $156,718                $2,454,576
        Tali Chen           $413,243         $1,402,412            $81,520                $1,897,175
14

15 The Proxy Statement Contains Material Misstatements or Omissions

16
            29.       The defendants filed a materially incomplete and misleading Proxy Statement with the
17
     SEC and disseminated it to DSP’s stockholders. The Proxy Statement misrepresents or omits material
18
     information that is necessary for the Company’s stockholders to make an informed decision whether
19

20 to vote in favor of the Proposed Transaction or seek appraisal.

21          30.       Specifically, as set forth below, the Proxy Statement fails to provide Company

22 stockholders with material information or provides them with materially misleading information

23 concerning the Company’s financial projections and the data and inputs underlying the financial

24
     valuation analyses that support the fairness opinion provided by the Company’s financial advisor,
25
     Goldman.
26
     Material Omissions Concerning the Company’s Financial Projections and Goldman Sachs’s
27
     Financial Analyses
28
                                          -9-
                COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 10 of 15




 1          31.     The Proxy Statement omits material information regarding the Company’s financial
 2
     projections.
 3
            32.     For example, the Proxy Statement fails to include the line items underlying the
 4
     Company’s financial projections.
 5

 6          33.     The Proxy Statement also omits material information regarding Goldman Sachs’s

 7 financial analyses.

 8          34.     The Proxy Statement describes Goldman Sachs’s fairness opinion, and the various
 9
     valuation analyses it performed in support of its opinion. However, the description of Goldman
10
     Sachs’s fairness opinion and analyses fails to include key inputs and assumptions underlying these
11
     analyses. Without this information, as described below, DSP’s public stockholders are unable to fully
12
     understand these analyses and, thus, are unable to determine what weight, if any, to place on Goldman
13

14 Sachs’s fairness opinion in determining whether to vote in favor of the Proposed Transaction or seek

15 appraisal.

16          35.     With respect to Goldman Sachs’s Illustrative Discounted Cash Flow Analysis, the
17
     Proxy Statement fails to disclose: (i) quantification of the Company’s terminal values; (ii)
18
     quantification of the inputs and assumptions underlying the discount rate range of 8.0% to 9.0%
19
     utilized by Goldman Sachs in connection with the analysis; and (iii) quantification of the Company’s
20

21 net cash.

22          36.     With respect to Goldman Sachs’s Illustrative Present Value of Future Share Price

23 Analysis, the Proxy Statement fails to disclose: (i) quantification of the inputs and assumptions

24 underlying the discount rate of 8.5% utilized by Goldman Sachs in connection with that analysis; (ii)

25
     quantification of the Company’s net cash utilized in the analysis; and (iii) quantification of the number
26
     of fully diluted shares of Company stock utilized in the analysis.
27

28
                                         - 10 -
                COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 11 of 15




            37.     With respect to Goldman Sachs’s Selected Companies Analysis, the Proxy Statement
 1

 2 fails to include the individual multiples and financial metrics for each of the comparable companies

 3 analyzed.

 4          38.     Without such undisclosed information, DSP stockholders cannot evaluate for
 5
     themselves whether the financial analyses performed by Goldman Sachs were based on reliable inputs
 6
     and assumptions or whether they were prepared with an eye toward ensuring that a positive fairness
 7
     opinion could be rendered in connection with the Proposed Transaction. In other words, full
 8
     disclosure of the omissions identified above is required in order to ensure that stockholders can fully
 9

10 evaluate the extent to which Goldman Sachs’s opinion and analyses should factor into their decision

11 whether to vote in favor of or against the Proposed Transaction or seek appraisal.

12          39.     The omission of this material information renders the statements in the “Certain
13
     Company Forecasts” and “Opinion of the Company’s Financial Advisor” sections of the Proxy
14
     Statement false and/or materially misleading in contravention of the Exchange Act.
15
            40.     The Individual Defendants were aware of their duty to disclose the above-referenced
16

17 omitted information and acted negligently (if not deliberately) in failing to include this information

18 in the Proxy Statement. Absent disclosure of the foregoing material information prior to the

19 stockholder vote on the Proposed Transaction, Plaintiff and the other stockholders of DSP will be

20 unable to make an informed voting or appraisal decision in connection with the Proposed Transaction

21
     and are thus threatened with irreparable harm warranting the injunctive relief sought herein.
22
                                            CLAIMS FOR RELIEF
23
                                                     COUNT I
24
                   Claims Against All Defendants for Violations of Section 14(a) of the
25
                        Exchange Act and Rule 14a-9 Promulgated Thereunder
26
            41.     Plaintiff repeats all previous allegations as if set forth in full.
27

28
                                        - 11 -
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 12 of 15




            42.     During the relevant period, defendants disseminated the false and misleading Proxy
 1

 2 Statement specified above, which failed to disclose material facts necessary to make the statements,

 3 in light of the circumstances under which they were made, not misleading in violation of Section

 4 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

 5
            43.     By virtue of their positions within the Company, the defendants were aware of this
 6
     information and of their duty to disclose this information in the Proxy Statement. The Proxy
 7
     Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented and/or
 8
     omitted material facts, including material information about the Company’s financial projections and
 9

10 the data and inputs underlying the financial valuation analyses that support the fairness opinion

11 provided by Goldman Sachs. The defendants were at least negligent in filing the Proxy Statement

12 with these materially false and misleading statements.

13
            44.     The omissions and false and misleading statements in the Proxy Statement are material
14
     in that a reasonable stockholder would consider them important in deciding how to vote on the
15
     Proposed Transaction or seek to exercise their appraisal rights.
16

17          45.     By reason of the foregoing, the defendants have violated Section 14(a) of the Exchange

18 Act and SEC Rule 14a-9(a) promulgated thereunder.

19          46.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is
20 threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive relief

21
     is appropriate to ensure defendants’ misconduct is corrected.
22
                                                    COUNT II
23
                               Claims Against the Individual Defendants for
24                             Violations of Section 20(a) of the Exchange Act
25          47.     Plaintiff repeats all previous allegations as if set forth in full.
26
            48.     The Individual Defendants acted as controlling persons of DSP within the meaning of
27
     Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers and/or
28
                                        - 12 -
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 13 of 15




     directors of DSP, and participation in and/or awareness of the Company’s operations and/or intimate
 1

 2 knowledge of the false statements contained in the Proxy Statement filed with the SEC, they had the

 3 power to influence and control and did influence and control, directly or indirectly, the decision-

 4 making of the Company, including the content and dissemination of the various statements which

 5
     Plaintiff contends are false and misleading.
 6
            49.     Each of the Individual Defendants was provided with or had unlimited access to copies
 7
     of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to and/or
 8
     shortly after these statements were issued and had the ability to prevent the issuance of the statements
 9

10 or cause the statements to be corrected.

11          50.     In particular, each of the Individual Defendants had direct and supervisory
12 involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

13
     the power to control or influence the particular transactions giving rise to the securities violations as
14
     alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous
15
     recommendation of each of the Individual Defendants to approve the Proposed Transaction. They
16

17 were, thus, directly involved in the making of the Proxy Statement.

18          51.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

19 Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

20 Transaction. The Proxy Statement purports to describe the various issues and information that they

21
     reviewed and considered—descriptions the Company directors had input into.
22
            52.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of
23
     the Exchange Act.
24

25          53.     As set forth above, the Individual Defendants had the ability to exercise control over

26 and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-9,

27 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions as

28
                                        - 13 -
               COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
          Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 14 of 15




     controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a
 1

 2 direct and proximate result of defendants’ conduct, DSP’s stockholders will be irreparably harmed.

 3                                         PRAYER FOR RELIEF

 4          WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including
 5
     injunctive relief, in his favor on behalf of DSP, and against defendants, as follows:
 6
            A.      Preliminarily and permanently enjoining defendants and all persons acting in concert
 7
                    with them from proceeding with, consummating, or closing the Proposed Transaction
 8
                    and any vote on the Proposed Transaction, unless and until defendants disclose and
 9

10                  disseminate the material information identified above to DSP stockholders;

11          B.      In the event defendants consummate the Proposed Transaction, rescinding it and
12                  setting it aside or awarding rescissory damages to Plaintiff;
13
            C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,
14
                    as well as SEC Rule 14a-9 promulgated thereunder;
15
            D.      Awarding Plaintiff the costs of this action, including reasonable allowance for
16

17                  Plaintiff’s attorneys’ and experts’ fees; and

18          E.      Granting such other and further relief as this Court may deem just and proper.

19                                             JURY DEMAND
20          Plaintiff demands a trial by jury on all claims and issues so triable.
21

22

23

24

25

26

27

28
                                          - 14 -
                 COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
        Case 5:21-cv-08743-SVK Document 1 Filed 11/10/21 Page 15 of 15




     Dated: November 10, 2021              WEISSLAW LLP
 1
                                           Joel E. Elkins
 2
                                           By: /s/ Joel E. Elkins
 3
                                           Joel E. Elkins
 4                                         611 Wilshire Blvd., Suite 808
                                           Los Angeles, CA 90017
 5                                         Telephone: 310/208-2800
 6                                         Facsimile: 310/209-2348
                                                   -and-
 7                                         Richard A. Acocelli
                                           305 Broadway, 7th Floor
 8                                         New York, NY 10007
                                           Telephone: 212/682-3025
 9                                         Facsimile: 212/682-3010
10
                                           Attorneys for Plaintiff
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                      - 15 -
             COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
